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                Exhibit 1
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                 IN THE DISTRICT COURT OF TULSA COUNTY
                           STATE OF OKLAHOMA




                vs .                                 NO. CF-1999-4583
        JOHN FITZGERALD H
                  Defendant.

                         TRANSCRIPT OF PROCEEDINGS
                           SENTENCING JURY TRIAL
                             FEBRUARY 7TH, 2006
                 BEFORE THE HONORABLE CAROLINE E. WALL
                                                                        FlLlD
                         ASSOCIATE DISTRICT JUDGE             tH FOilH O# CRIMINAL 881
                                                                STATE OF OKLAH81
                                  AND A JURY
        APPEARANCES:
        FOR THE STATE:          MR.    DOUG E .   DRUMMOND       MilC”aE:L s.  RreHr
        and                     MR. WILLIAM J . MUSSEMAN               GLERK
                                ASSISTANT DISTRICT ATTORNEYS
                                500 SOUTH DENVER
                                TULSA, OKLAHOMA 74103
        FOR THE DEFENDANT:      MR. JACK E. GORDON, JR.
                                ATTORNEY AT LAW
                                111 SOUTH MUSKOGEE
                                CLAREMORE, OKLAHOMA 74017
        and                     MR. STEVEN M. HIGHTOWER
                                ATTORNEY AT LAW
                                2 WEST SIXTH
                                TULSA, OKLAHOMA 74119

        KIMBERLY A. WHITE
        OFFICIAL COURT REPORTER
        TULSA COUNTY COURTHOUSE
        500 SOUTH DENVER
        TULSA, OKLAHOMA 74103




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    1                              PROCEEDINGS
    2                            FEBRUARY 7, 2006
    3                      (Whereupon, the following proceedings
    4   were had in open court, with all parties present.)
    5                      THE COURT:    CF-1999-4583,State of
    6   Oklahoma versus John Hanson, who's present in court
    7   with Attorney Jack Gordon.          State of Oklahoma present
    8   through Attorney Doug Drummond.
    9         Any announcements or statements before I sentence
  10    the Defendant?
  11                       MR. GORDON:    We object to the sentencing
  12    on grounds that there should have been a new trial
  13    granted in this case; therefore, the entire proceeding
  14    is for not.
  15                       THE COURT: All right.         On Count I the
  16    jury has recommended the punishment of death, and I
  17    will order the punishment as the jury recommended.
  ia          And, Mr. Hanson, you have a right to appeal your
  19    sentence.       Has your attorney advised you of your right
  20    to appeal?
  21                       MR. HANSON:    Yes.

  22                       THE COURT:    Do you have anything else          '




  23    for the record right now?
  24                       MR. DRUMMOND:     Not on behalf of the

  25    State, Your Honor.



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                                                                                  3



   1                    MR. GORDON:     No, ma'am.
   2                    THE COURT:     And as far as setting a
   3    date - -
   4                    MR. GORDON:     Need to set an execution
   5    date.
   6                    THE COURT:     Is there specific
   7    requirements?
   8                    MR. GORDON:     Prefer it wouldn't be
   9    tomorrow.
  10                    MR. DRUMMOND:      Judge, I want to say it's
  11    usually ninety days, but I'm not positive about that.
  12                    THE COURT:     Mr. Gordon?
  13                    MR. GORDON:     I think that's right.          I've
  14    got my application to stay execution ready.
  15                    THE COURT:     It's not ninety days
  16    exactly, but a recommendation?
  17                    MR. DRUMMOND:      Yeah, I just remember it
  18    is about ninety.     I don't know if it's ninety exactly,
  19    that's just my recollection, Judge.
  20                    THE COURT:     All right. April 11th - -
  21    actually, ninety - - I think would be May 9th, I think
  22    is ninety days.
  23                    MS. BUTCHER:     At?

  24                    THE COURT:     Is there a specific time of
  25    day?
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    1                    MR. DRUMMOND:     I don't believe so, Your
    2   Honor.
    3                    MR. GORDON:     No, ma'am.
    4                    THE COURT:    Ten a.m.
    5         Anything else?
    6         Mr. Gordon, did you advise Mr. Hanson of all of
    7   his rights to appeal?
    8                    MR. GORDON:     Yes, ma'am, I have the
    9   papers prepared.
   10                    THE COURT:    Do you want me to read them
   11   on the record?
   12                    MR. GORDON:     No, ma'am.
   13                    THE COURT:    The deputy had a question
   14   about the writ.
   15                    MR. GORDON:     We'd like him released from
   16   the writ and returned to federal prison.
   17                    THE COURT:    All right.      That will be the

   18   order of the Court.
   19         We're off the record.
   20    (PROCEEDINGS CONCLUDED)
   21
   22
   23
   24
   25



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   1                      C E R T I F I C A T E

   2    STATE OF OKLAHOMA               )
                                        1         ss.
   3    COUNTY OF TULSA                 )

   4

   5            I, KIMBERLY A. WHITE, Official Court Reporter
   6    within and for the State of Oklahoma, do hereby
   7    certify that on the 7th day of February, 2006, before
   8    the Honorable Caroline E. Wall, in the District Court
   9    of Tulsa County, State of Oklahoma, I reported in
  10    machine shorthand the proceedings had and the evidence
  11    given, and the above and foregoing is a full, true,
  12    correct, and complete transcript of the proceedings

  13    had and the testimony given, together with the
  14    objections of counsel and the rulings of the Court
  15    thereto, taken at said time and place.
  16            WITNESS my hand and seal this 26th day of

  17    December, 2006.
  18

  19

  20
  21
  22                                   CSR N o . - 0 1 # 3 9
                                       Official Reporter
  23                                   Oklahoma District Court

  24                                                   Kimberly White
                                            Oklahorna Certified Shbrthand Reporter
  25                                                 Certificate No. 1789
                                               Exp. Date: December 31, 30fl6



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